                   Case 3:18-cr-00180-SI                              Document 14-4             Filed 08/13/19     Page 1 of 13


                                                               BILL OF LADING
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Sender/Comiper: Notary, as "Presentment Agent'' and witn~ for private non Citizen, national.
Sbippe!l": US POST OFFICE PRlORITY •MAIL* EXPRESS# EL 343333675 US
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   2.      State of Oregon Apostlled Notice of Arrival of Head of Mossien                                        02 pages
   3.      Airline Itinerary                                                                                     Olpage
   4.      Col?V of P/4SSPORT CONIFIRMATION                                                                      OZ page
   S.      Declaration of Service off Process by Notary                                                          01 pages

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             Case 3:18-cr-00180-SI                Document 14-4              Filed 08/13/19           Page 2 of 13




THIS BULL OF LADiNG CONSTITUTES
1) Notice of liabilities, criminal penalties, waiver of immunity, consent to be liened in personal and official capacities
l'or non-acceptance, delay, tunpering, non-delivery, or non-compliance with all fidudalyduties and applicable law;
2) Receipt evidencing shipment of goods on board in good order, good condition pursuant to
contractual and fiduciary assignment in trust;
3) Document of title, right of possession,
                                                                                                OfflCIAl STAMP
key to the warehouse:                                                                     DMREl.l KEITH BOLES
4) Evidence of contract of carriage.                                                        NOTM\' f.!UIUC OREGON
                                                                                            OOll!II~ NO. 951394A
                                                    seal>                             wrf COMMISS!Off aARS JUNE 03,   2020
Executed and Acknowledged on this
 2(/ day of 6th Month, 2019 A.D.
State of Oregon                  )
                                 ) s.a.
County of Multnomah              )




                           SPACE BELOW RESERVED FOR COUNTY USE




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                      Case 3:18-cr-00180-SI                                    Document 14-4                       Filed 08/13/19     Page 3 of 13



                                                                       BILL OF LADING

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Shipper: US POST OFFICE PRIORITY ""MAIL* EXPRESS # EL 343333689 US
Redpient/Ccnmsignee: U.S. Department of State, SeatStary of State, Michael Pompeo
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   1.     NOTE VERBAi.iE                                                                                                            01 pajet
   2.     State of Oregon Apostllad Notice of Arrival of Head of Mission                                                            02 pages
   3.     Alrilne itinerary                                                                                                         Olpaie
   4.     Copy of PASSPORT CONFIRMATION                                                                                             02page
   s.      Declaratlcn of Service of Process by Notary                                                                              01 pages




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             Case 3:18-cr-00180-SI                Document 14-4             Filed 08/13/19             Page 4 of 13



THIS BILL OF LADING CONSTITUTES
1) Notice ofliabilities, aiminal penalties, waiver of immwlit.y, consent to be liened in personal and official capacities
fur non-acceptance, delay, tampering non-delivery, ornon-a>mpHancewlth all fiduciary duties and applicable Jaw;
2) Receipt evidencing shipment ofgoods on board In good order, good condition pursuant to
contractual and fiduciary assignment in trust;
3) Document of title, right of possession,
key to the warehouse;                                                                       OFFICIAL $TAMP
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4) Bvidence of contract of carriage.                                                     NOTAAV PUBLIC OREGON
                                                    seal>                                COMM18810NNO. 951394A
                                                                                   MV COMMISSION EJIPIRES JUNE 08, 2020
Executed and Acknowledged on this
2-6        day of 6th Month, 2019 A.D.

State of Oregon                  )
                                 ) s.a.
County of Multnomah              )




       ._........ELL KEITH BOLES, N'M~in and for the
        State of Oregon and the County of Multnomah

                           SPACE BELOW RESERVED FOR COUNTY USE




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                     Case 3:18-cr-00180-SI                                      Document 14-4                                     Filed 08/13/19                               Page 5 of 13                     Q,,-.
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              VERIFIED ACKNOWLEDGED AUTHENTICATED BILL OF LADING UNDER SEAL
sender/Comlgl!ler: Notary, as "Presentment.Agent" and witnes for private non Cittl.en, national.
Shipper: US POST OFFICE PRIORITY• MAIL* EXPRESS# EL XX-XXXXXXX US
Recipient/Consignee: U.S. Bureau of Consular Affalrrso ATTN: earl Risch
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  1. NOTE VERB~LIE                                                                                                                                                        01paae
  2. State of Oregon Apostlled Notice of Arrival of Head of Mission                                                                                                      02paps
  3,      Alrllne Itinerary                                                                                                                                              Olpage
  4,      Copy of PASSPORT CONFIRMATION                                                                                                                                  02pap
  s.      Declaration of Service of Process by Notary                                                                                                                    01 pa1es

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             Case 3:18-cr-00180-SI                 Document 14-4              Filed 08/13/19                Page 6 of 13
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THIS lBILl!. OlF LADING CONSTITUTES
1) Notice of liabilities, criminal penalties, waiver of immunity, consent to be llened in personal and official capacities
for non-acceptance, delay, tampering, non-delivery, ornon-mmpliancewithall fiducial)' duties and applicable law;
2) Receipt evidencing shipment of goods on board in good order, good condition pursuant to
contractual and fiduciary assignment In trust;
3) Document of title, right of possession,
                                                                                            OFFICIAL STAMP
key to the warehouse:                                                                 DARRELL KEITH BOLES
4) Evidence of contract of carriage.                                                     NOTARY PUBLIC OREGON
                                                                                         COMMISSKlNIIIO. 951394A
                                                    seal>                         wrt COIWMJSSl()llf EIIPiflES JUN£ 08, 2020
Executed and Acknowledged on this
 2f day of 6th Month, 2019 A.D.
State of Oregon                  )
                                 ) s.a.
County of Multnomah              )




                           SPACE BELOW RESERVED lFOR COUNTY USE




                                                            2of2
       Case 3:18-cr-00180-SI       Document 14-4        Filed 08/13/19    Page 7 of 13


                                 NOTE VERBALE

       The ROBERT ANDREW LUND presents its compliments to the Secretary of
State of the UNITED STATES, and has the honor to request the completion of the
passport application the following person:

Name in Full:               Lund, RobertGAndrew
                            U.S. Passport Confirmation Number: 76818046
                            Date: 1 July 2019, Time: 10:00 AM.
                            Washington Passport Agency
                            600 19th Street, N.W. First Floor
                            Washington D.C.
                            See attached copy of:
                            State of Oregon Apostiled
                            Notice of Arrival of Head of Mission


Purpose of Entry:           Permanent Succession of the former head of mission.

Date of Arrival:            Monday June 1, 2019



       The ROBERT ANDREW LUND expresses beforehand its gratitude to the
Secretary of State of the UNITED STATES for its kind assistance and avails itself of
this opportunity to renew the assurances of its highest consideration.

                         Portland, Oregon state,   2   e,   day of June, 2019 AD.



                                       Ko~evarAnJref/VLvncl C,>,
                                                   sole agent under power of attorney



                                           Mission Seal>>>>
                      Case 3:18-cr-00180-SI
                                         StateDocument
                                               of Oregon 14-4                      Filed 08/13/19          Page 8 of 13
                                                   Secretary of Statie
                                                     APOSTILLE
                                        (Convention de La Haye dt15 octobre 1961)
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       1. Country:                                              UnU:ed States of America
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          This public document
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       9. Seal I Stamp                                     10, Signature:
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This AP.Ostille only certifies the authenticity of the signature and the capacity of the person who has signed the
public aocument, and, where appropriate, the identity of the seal or stamp which the public document bears.
Th is Apostille does not certify the content of the document for which it was issued.
This Apostille is not valid for use anywhere within the United States of America, its territories or possessions.
To verify the issuance of this Apostille, call (503) 986~2200 or emarn CorporationDivision.SOS@oregon.gov
This certificate does not collllstibnte an apostil&ie undel!' the Coimve!llltio111 of S October 1961 Abolishing tllne
R.equiremewt of Legalisation for Foreign Public Documents for fthose countries that have neither ratUlecll nor
acceded to that Conwermtion~ Hd riemams subject to additional Sl!!)plicable Htllnen~cation requarements.
           Case 3:18-cr-00180-SI                         Document 14-4                  Filed 08/13/19                Page 9 of 13



:;,,:)aERT ANDREW LUND                       §
S::".dl:i 5 State,                           §
T:,                                          §           Notice of Arrival of Head of Mission
sr;.TE OF OREGON,                            §           Under the Authority of the New Covenant
Recei-.•ing S,ate                            §           Revelation 3:7·13

KNOW ALL MEN AND WOMEN BY THESE PRESENTS, that I, the undersigned ROBERT ANDREW LUND, Before the below
:isted officer of the receiving state to wit; Being first duly affirmed, notices the Receiving State to wit, of the following:

     1.   The ROBERT ANDREW LUND, an international organization, organized and existing under the authority of the
           New Covenant at Hebrews 9:16, presents Its compliments to the Secretary of the STATE OF OREGON In the
          UNITED STATES, and Is pleased to announce the arrival of the head of mission.
     2.   The head of mission Is Ambassador: LUND, ROBERT ANDREW; U.S. Passport Number: 506024S28, issued on
          9th October 2014, by the U.S DEPARTMENT OF STATE, In the Receiving State on the State of Oregon, bearing a
          Tourist Visa endorsement for coast-wide entry Into the waters navigable in fact In the UNITED STATES.
     3.   The head of mission Is a citizen of the Kingdom of Heaven. Residing In the house my Father prepared for me.

     4,
          (Hebrews 9-24, John 14:2).
          The primary purpose of entry is to execute and perpetuate the Will of the Father, without court supenrision,                               t\
                                                                                                                                                     ~
          intervention or mediation of any kind, in accord with the Ministry of Rec:oncillatlon at 2 Corinthians 5:11•21.
     S.   The head of mission shall also take on the duties of Minister (Political), Attache (Agriculture) and Third
          Secretary {Commercial).
     6.   The temporary location of the duty office is: Lebannon, Or~on state.
          The malling address for the mission is: SS Walker Rd., #°l.~;?&:'Lebanon, OR 97355
     7.   The duration of the mission Is permanent. The duties of the head of the mission are permanent.
     8,   The mission, the head of mission, Its members and family, though not a party to the Vienna Convention on
          Diplomatic Relations of 1961, hereby accepts the extension of all the privileges, immunities and eitemptlons
          thereof by the Receiving State at (P.L. 95-393, Section J., Sept. 30, 1978;U,S.C, 254a(3)],
     9,   That this Notice of Arrival is hereby ratified by the Sending State, acknowledged by the Receiving State, taken
          before the below listed officer thereof, under the authority of Divine Law and shall be recognized by the
          Receiving State in accordance with the common law of the Receiving State at
          [(383 U.S. 163)''The Bible is law to be applied nationally"].

The ROBERT ANDREW LUND, e1<presses its gratitude and peace to the Secretary of the STATE OF OREGON in the UNITED
STATES for its kind assistance and avails itself of this opportunity to renew assurances of its highest consideration.
                  Multnomah County, Oregon state. This 24'h day of 6th month, 2019 A.O., Nunc Pro Tune
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                                                                                                                 Mission Seal

                                                        by the Grace of God Almighty

  "A Notary Public or other officer completing this certl/icote verifies only the Identity of the lnd/vidual who signed the document to which this
                            certfflcate is attached, and not the trutlr(lllness. occuroc11, or 110/idltv of that document."
                                             CERTIFICA 'i'E OF ACKNOWLEDGMENT
                                             )
                                             )sa.
County of illhJJitnomah                      )                                              OFFICtAL STAMP
                                                                                     DARRELL KEITH BOLES
This 24 th day of 6Vl month, 2019 A.O. before me,                                     NOTARY PUBLIC OREGON
DARRELL KEITH BOLES, Notary Public,                                                   COMMISSION NO. 951394A
                                                                                 Mt COMMISSION EXPIRES JUNE 08, 2020
personally appeared ROBERT ANDREW LUND
who signed and duly affirmed the above.




                                                                            Notary Public. Seal>»




                                                                                                                           Initials _ _ _ __
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                  Case 3:18-cr-00180-SI              Document 14-4         Filed 08/13/19       Page 10 of 13




Confirmation code:                                                                    VGVTFF


You're all set. Thank you for booking with Alaska and we look forward to seeing you on board.

View full details about your flight reservation and fare.


Flight                        Departs                       Arrives                   Class      Traveler(s)         Seat(s)
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           Online Passport Appointment System


                   Your appointment is confirmed!
                   The details of your appointment are below. Please bring the confirmation number with you to the passport
                   agency. An appointment confirmation email was sent to docbob333777@gmail.com.

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                       Email: docbob333777@gmail.com
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         App1i1tme1t D1taHs
          Conflll'matoon Number: 76818046
          !Dato: Monday, July 1, 2019
           Timt: 10:00 AM

           Passport location:
           Washington Passport Agency
           600 19th Street, N. W.First Floor
           Sidewalk level
           Washington, DC
           Driving Directions
           Check here for information on what to bring to your appointment


         To find information on forms, fees, and required documents, please visit travel.state.gov/passport




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    Case 3:18-cr-00180-SI              Document 14-4             Filed 08/13/19            Page 13 of 13
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         Declaration of Copy Certification and Service of Process by Notary
State of Oregon                    )
                                   } s.a.
 County of Multnomah               )

 On this, 28th day of June, 2019 A.O., I, Notary DARRELL KEITH BOLES, declare under penalty of perjury
 under the Laws of the United States of America certify that the annexed document(s) listed below,
 totaling 5 pages, are either original documents, certified copies or true exact and unaltered
 Photocopies of the original document(s). l have submitted these documents to the following
 trustees/parties by mailing to the addresses listed below.

 Executive Office of the United States Government                                   EL 343333675 US
 Attn: President Donald J. Trump
 1600 Pennsylvania Ave N.W.
 Washington, D.C. 20500
U.S. Department of State                                                            EL 343333689 US
Attn: Secretary of State Michael Pompeo
2201 C Street N,W,
Washington, D.C. 20520
U,s; Bureau of Consular Affairs                                                     EL 343333692 US
Attn: Carl Risch, Asst Sec of State for Consular Affairs
2201 C. Street, N.W.
Washington, D.C. 20520


   1. NOTE VERBA.LE                                                                           01page
   2. State offOregow Aposttled Notice of Amval of Head of Mission                            02 pages
  3. Alaska Aill'Rilflle itinel!'ary                                                          @1 page
  4. Copy oflP'ASSffl>ORT APPOINTMENT CONFIRMATION                                            OZ page



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Declaration of Copy Certification and Service of Process by Notary for 1 pages:
                                                                          TOTAL PAQIS; 1
State of Oregon                    )
                                   ) s.a.
County of Multnomah                }

              Presented to me Notary, DARRELL KEITH BOLES by Document Custodian
                                       Robert Andrew Lund, C.S.
l, Notary DARRELL KEITH BOLES, subscribe and affirm the facts contained herein Executed and
Acknow:ledged on this
____.of June 2019 AD - - ~                                              OFRCIALSTAMP
                                                                 DARRELL KEITH SOI.ES
                                                                   NOTAA'f PUSUC OREGON
                                                                   COMMISSION NO. 95l394A
                                                              'MV COMMISSICH ecfil&JUNE 08, 2020




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